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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                              CIVIL ACTION

VERSUS                                                             NUMBER: 12-0859

MARLIN N. GUSMAN, ET AL.                                           SECTION: “I”(5)

                                            ORDER

       The Court is in receipt of the joint witness list submitted by the parties pursuant to

its Order of August 20, 2020. (Rec. doc. 1320). In that Order, I urged the parties to cull their

respective witness lists; this request has been generally ignored. This fact, along with the

verbose and largely baseless objections made by the City to numerous of the other parties’

witnesses has, momentarily at least, caused me to reconsider the wisdom of my decision to

allow the presentation of testimony in the upcoming hearing pursuant to Local Rule 43.1.

       To be clear, testimony on the pending motion is not required.            Given my long

experience with this case, I could, in the absence of such testimony, make my Report and

Recommendation to the District Judge on the basis of the parties’ memoranda and exhibits

alone. However, I informed the parties early on of my intention to give the City and other

parties the rare opportunity to call witnesses at the upcoming hearing and I will not renege

on that earlier commitment. Having said that, I made it clear during the recent status

conference with counsel for the parties that I intend to conduct the upcoming hearing as a

straightforward hearing on a motion in a civil matter, not as a trial or even an evidentiary

hearing along the lines of prior hearings in this case, such as the fairness hearing, the funding

hearing, and the hearing on the motion for receivership. Now it seems the parties are
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ignoring my guidance about the nature of the upcoming hearing and are looking to turn it

into something altogether different. To be clear, that is not going to happen.

        So against my better judgment, and in the interest of allowing the parties the fullest

opportunity to present their respective arguments (and because I earlier committed to this

course), I will allow each of the witnesses listed to testify. Having said that, and before

turning to address the various objections lodged to certain witnesses, I now direct counsel

to take note of the following instructions and limitations on testimony at the upcoming

hearing.

        •    The following presumptive time limits 1 shall apply to the presentation of

             testimony by each party. The City will have 10 hours on the record to conduct

             direct examination of its witnesses and to cross examine other parties’ witnesses.

             The Compliance Director and OPSO collectively will have 10 hours on the record

             to conduct direct examination of their witnesses and to cross examine other

             parties’ witnesses. The Plaintiff Class and DOJ collectively will have 10 hours on

             the record to conduct direct examination of its witnesses and to cross examine

             other parties’ witnesses.

        •    Objections to questions will be counted against the above-referenced time limits

             for the party making them.

        •    Cumulative testimony and questioning will not be allowed.

        •    The parties’ generic, catchall categories of unnamed witnesses, i.e., those called or

             listed by other parties or needed for rebuttal, are stricken.                    Witnesses not



1 As all of this testimony is being presented ostensibly for the benefit of the Court, the Court will reserve the
right to alter these limits as appropriate.

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     specifically identified will not be called, unless the Court orders otherwise – and

     the deadline for identifying such witnesses has passed.

 •   Witnesses will not be required to authenticate documents, as such issues will be

     resolved prior to the hearing.

 •   The hearing will be conducted remotely via Zoom. The full protocol will be issued

     at a later date. Any counsel calling a witness shall ensure that witness is provided

     with every document or exhibit counsel wishes to discuss with the witness so that

     the witness may readily refer to the document during examination.              Those

     documents shall also be identified to opposing counsel on a witness-by-witness

     basis in advance of the hearing.

 •   Counsel conducting cross examination shall have the ability to readily share

     exhibits on full screen with the parties, the witness, and the Court.

 •   Arrangements will be made by the Court for members of the public to log into and

     observe the hearing.

 •   The Court will set aside a day at the conclusion of the hearing for argument. This

     session will also include questioning of counsel by the Court.

 Turning now to the parties’ objections to various witnesses.

 •   The City’s objections

        o Michael G. Gaffney. The City’s objection is overruled. Mr. Gaffney will be

            permitted to testify consistent with his affidavit and the report attached

            thereto, it appearing to the Court he is clearly well-qualified to do so.

        o Director Hodge or senior official with OPSO. This objection is granted

            in part. The Compliance Director must, no later than September 18, 2020,

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                      identify by name the individual he intends to call to provide the testimony

                      described. If that person is, in fact, Darnley Hodge, he is clearly capable of

                      providing that testimony and the City’s objection to his testifying is

                      overruled. The Court cannot rule on a similar objection as to any other

                      “senior official at OPSO” until that person is identified.

                 o Rebecca Dietz. This objection is overruled. There simply can be no

                      legitimate blanket claim of privilege over the testimony of this witness,

                      who is listed to testify “regarding the negotiations and agreement to build

                      the Phase III facility.” (Rec. doc. 1330). These are not confidential matters

                      and the City makes no effort to explain how they could be – in fact the City

                      concedes that any testimony Ms. Dietz provides “that could potentially

                      support the Compliance Director’s position is already in the public record,

                      and any documents or recordings should speak for themselves.” (Id.).

                      Stating what should be obvious, this concession pretty seriously

                      undermines the City’s claim – made in the same paragraph as the preceding

                      statement – that “allowing her to testify would run afoul of privileges

                      afforded the City by the attorney-client privilege and the work product

                      doctrine.” (Id.). 2 Neither of these objections has merit and, as the Court

                      previously allowed, it will entertain legitimate objections to preserve a

                      privilege on a question-by-question basis. 3


2 The City’s objection to Dietz testifying about matters of public record and about documents that “speak for

themselves” lead me to question why I am convening a hearing to allow the City to call 13 witnesses largely to
do the very same thing.
3 The Court also notes that the City’s citation to a footnote in U.S. v. Cochran, 546 F.2d 27 (5th Cir. 1977), is

inapposite here. In that criminal case, the Court found no violation of the attorney client privilege because “the
attorney only testified to matters of public record or to matters which took place in open court.

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               o Gary Maynard. This objection is overruled. Former Director Maynard is

                   obviously qualified to testify about the matters described in the witness

                   list.

               o Alexander Calenda. This objection is overruled. The City states: “The

                   City objects to his expected testimony about gang presence and his belief

                   there will be an increase in violent crime. These topics are not relevant to

                   the City’s pending motion.” If these topics are not relevant to the City’s

                   pending motion, why is the City calling no less than four different

                   individuals (Austin, Snowden, Wisbey, and Stevens) to testify on the

                   similar, if not identical, topic of “jail population trends?” This is a frivolous

                   objection.

               o Michael Laughlin. Objecting to the testimony of the OPSO Chief of

                   Investigations, the City states: “Aside from his inability to offer subjective

                   opinion testimony, the City objects to his belief about what the OPSO

                   describes as difficulties in handling inmates with medical and mental

                   needs because those issues are not relevant to the October 5, 2020

                   hearing.” (Rec. doc. 1330). This statement reveals a fundamental and

                   alarming failure to appreciate why this hearing is being conducted in the

                   first place. “Difficulties in handling inmates with medical and mental

                   needs” at OJC is at the very heart of the problem the Court has been trying




Communications divulged to strangers or outsiders can scarcely be considered confidential communication
between attorney and client.” Id., at 29 (emphasis added).

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                 to solve for seven years in this case. This objection is both frivolous and

                 mystifying.

             o Catherine Knox. Ms. Knox works closely with the Court’s monitoring

                 team on the issues at the heart of this motion – her testimony is obviously

                 appropriate. This objection is overruled.

             o Chief Byron LeCounte. The City objects to the testimony of the OPSO Chief

                 of Corrections because it believes he cannot offer expert testimony. The

                 Court agrees with the Compliance Director that “LeCounte is able to testify

                 to his personal knowledge as Chief of Security for the jail and can testify as

                 to his security experience regarding impediments to mental health care.”

                 (Id.). This objection is overruled.

      •   Compliance Director and OPSO

             o James Austin. This objection is overruled. As with each “expert” witness

                 designated by the parties, the Court, as trier of fact, will give these

                 witnesses’ testimony the weight to which it is entitled.

             o Tenisha Stevens.         The boilerplate objection to the relevance and

                 materiality of this witness’s testimony regarding “her work as Criminal

                 Justice Commissioner for the City of New Orleans and the City’s concerted

                 efforts to reduce jail population” is not at all well-taken. Issues of jail

                 population are obviously relevant to the City’s arguments in this matter.

      The Court will convene another status conference in advance of the hearing to discuss

final protocols for that hearing along with any other matters that need to be addressed

before proceeding.


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 New Orleans, this   14th   day of       September   , 2020.




                                           MICHAEL B. NORTH
                                     UNITED STATES MAGISTRATE JUDGE




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